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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 KATHY PILKINTON                               §
                                               §
 V.                                            §
                                               §            CASE NO. 2:17-CV-519- JRG
 HERITAGE HOSPICE OF                           §
 TEXARKANA, LLC D/B/A                          §
 HERITAGE HOSPICE                              §

                    NOTICE OF SCHEDULING CONFERENCE,
              PROPOSED DEADLINES FOR DOCKET CONTROL ORDER
                          AND DISCOVERY ORDER

       The Court, sua sponte, issues this Notice of Scheduling Conference, Proposed Deadlines

for Docket Control Order, and Discovery Order.

                               Notice of Scheduling Conference

       Pursuant to Fed. R. Civ. P. 16, the Scheduling Conference in this case is set for September

20, 2017, at 3:30 p.m., in Marshall, Texas. The parties are directed to meet and confer in

accordance with Fed. R. Civ. P. 26(f) no later than 14 days before the conference. The parties are

excused from the requirement of filing a written proposed discovery plan in this case.

                        Proposed Deadlines for Docket Control Order

       The proposed deadlines for Docket Control Order set forth in the attached Appendix A

shall be discussed at the Scheduling Conference. The Court will not modify the proposed trial

date except for good cause shown.

                                        Discovery Order

       After a review of the pleaded claims and defenses in this action, in furtherance of the

management of the Court=s docket under Fed. R. Civ. P. 16, and after receiving the input of the



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parties to this action, it is ORDERED AS FOLLOWS:

1.    Disclosures. Except as provided by paragraph 1(j), within 30 days after the Scheduling

      Conference, each party shall disclose to every other party the following information:

      (a)    the correct names of the parties to the lawsuit;

      (b)    the name, address, and telephone number of any potential parties;

      (c)    the legal theories and, in general, the factual bases of the disclosing party=s claims

             or defenses (the disclosing party need not marshal all evidence that may be offered

             at trial);

      (d)    the name, address, and telephone number of persons having knowledge of relevant

             facts, a brief statement of each identified person=s connection with the case, and a

             brief, fair summary of the substance of the information known by any such person;

      (e)    any indemnity and insuring agreements under which any person or entity carrying

             on an insurance business may be liable to satisfy part or all of a judgment entered

             in this action or to indemnify or reimburse for payments made to satisfy the

             judgment;

      (f)    any settlement agreements relevant to the subject matter of this action;

      (g)    any statement of any party to the litigation;

      (h)     in a suit alleging physical or mental injury and damages from the occurrence that

             is the subject of the case, all medical records and bills that are reasonably related to

             the injuries or damages asserted, or, in lieu thereof, an authorization permitting the

             disclosure of such medical records and bills;

      (i)    in a suit alleging physical or mental injury and damages from the occurrence that

             is the subject of the case, all medical records and bills obtained by the disclosing

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             party by virtue of an authorization furnished by the requesting party; and

      (j)    for any testifying expert, by the date set by the Court in the Docket Control Order,

             each party shall disclose to the other party or parties:

             a.     the expert=s name, address, and telephone number;

             b.     the subject matter on which the expert will testify;

             c.     if the witness is retained or specially employed to provide expert testimony

                    in the case or whose duties as an employee of the disclosing party regularly

                    involve giving expert testimony:

                    1.      all documents, tangible things, reports, models, or data compilations

                            that have been provided to, reviewed by, or prepared by or for the

                            expert in anticipation of the expert=s testimony, except to the extent

                            protected by Fed. R. Civ. P. 26(b)(4); and

                    2.      the disclosures required by Fed. R. Civ. P. 26(a)(2)(B) and Local

                            Rule CV-26.

             d.     for all other experts, the general substance of the expert=s mental

                    impressions and opinions and a brief summary of the basis for them or

                    documents reflecting such information; and

             e.     any party shall be excused from furnishing an expert report of treating

                    physicians.

2.    Protective Orders.     Upon the request of any party before or after the Scheduling

      Conference, the Court shall issue the Protective Order in the form attached as Appendix B.

      Any party may oppose the issuance of or move to modify the terms of the Protective Order

      for good cause.

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3.    Additional Disclosures. In addition to the disclosures required in Paragraph 1 of this

      Order, at the Scheduling Conference, the Court shall amend this discovery order and

      require each party, within 45 days after the Scheduling Conference and without awaiting a

      discovery request, to provide, to the extent not already provided, to every other party the

      following:

      (a)    a copy of all documents, data compilations, and tangible things in the possession,

             custody, or control of the party that are relevant to the pleaded claims or defenses

             involved in this action. By written agreement of all parties, alternative forms of

             disclosure may be provided in lieu of paper copies. For example, the parties may

             agree to exchange images of documents electronically or by means of computer

             disk; or the parties may agree to review and copy disclosure materials at the offices

             of the attorneys representing the parties instead of requiring each side to furnish

             paper copies of the disclosure materials;

      (b)    a complete computation of any category of damages claimed by any party to the

             action, making available for inspection and copying as under Rule 34, the

             documents or other evidentiary material on which such computation is based,

             including materials bearing on the nature and extent of injuries suffered; and

      (c)    those documents and authorizations described in Local Rule CV-34.

      The Court shall order the disclosures set forth in paragraph 3(a), (b), and (c) in the absence

      of a showing of good cause by any party objecting to such disclosures.

4.    Discovery Limitations. At the Scheduling Conference, the Court shall also amend this

      discovery order to limit discovery in this cause to the disclosures described in paragraphs

      1 and 3 together with 25 interrogatories, 25 requests for admissions, the depositions of the

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      parties, depositions on written questions of custodians of business records for third parties,

      the depositions of 2 expert witnesses per side and 10 hours per side for third party fact

      witness depositions. ASide@ means a party or a group of parties with a common interest.

      Any party may move to modify these limitations for good cause.

5.    Privileged Information.       There is no duty to disclose privileged documents or

      information. However, the parties are directed to meet and confer concerning privileged

      documents or information after the Scheduling Conference. The parties shall exchange

      privilege logs identifying the documents or information and the basis for any disputed

      claim of privilege in a manner that, without revealing information itself privileged or

      protected, will enable the other parties to assess the applicability of the privilege or

      protection. The privilege logs must be exchanged by the deadline set in the Docket

      Control Order. Any party may move the Court for an order compelling the production of

      any privileged documents or information identified on any other party’s privilege log. If

      such a motion is made, the party asserting privilege shall file with the Court within 14 days

      of the filing of the motion to compel any proof in the form of declarations or affidavits to

      support their assertions of privilege, along with the documents over which privilege is

      asserted for in camera inspection. If the parties have no disputes concerning privileged

      documents or information, then the parties shall inform the Court of that fact by filing a

      notice within 14 days of the deadline set in the Docket Control Order for exchanging

      privilege logs.

6.    Pre-trial disclosures.    Each party shall provide to every other party regarding the

      evidence that the disclosing party may present at trial as follows:



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      (a)      The name and, if not previously provided, the address and telephone number of

               each witness, separately identifying those whom the party expects to present at trial

               and those whom the party may call if the need arises.

      (b)      The designation of those witnesses whose testimony is expected to be presented by

               means of a deposition and, if not taken stenographically, a transcript of the pertinent

               portions of the deposition testimony.

      (c)      An appropriate identification of each document or other exhibit, including

               summaries of other evidence, separately identifying those which the party expects

               to offer and those which the party may offer if the need arises.

      These disclosures shall be made at least 30 days before trial. Within 14 days thereafter,

      unless a different time is specified by the Court, a party may serve and file a list disclosing

      (1) any objections to the use under Rule 32(a) of a deposition designated by another party

      under subparagraph (B), and (2) any objections, together with the grounds therefor, that

      may be made to the admissibility of materials identified under subparagraph (C).

      Objections not so disclosed, other than objections under Rules 402 and 403 of the Federal

      Rules of Evidence, shall be deemed waived unless excused by the Court for good cause

      shown.

7.    Signature. The disclosures required by this order shall be made in writing and signed by the

      party or counsel and shall constitute a certification that, to the best of the signer=s knowledge,

      information and belief, such disclosure is complete and correct as of the time it is made. If

      feasible, counsel shall meet to exchange disclosures required by this order; otherwise, such

      disclosures shall be served as provided by Fed. R. Civ. P. 5. The parties shall promptly file a

      notice with the Court that the disclosures required under this order have taken place.


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8.    Duty to Supplement. After disclosure is made pursuant to this order, each party is under

      a duty to supplement or correct its disclosures immediately if the party obtains information

      on the basis of which it knows that the information disclosed was either incomplete or

      incorrect when made, or is no longer complete or true.

9.    Discovery Disputes.

(a)   Except in cases involving claims of privilege, any party entitled to receive disclosures

      (“Requesting Party”) may, after the deadline for making disclosures, serve upon a party

      required to make disclosures (“Responding Party”) a written statement, in letter form or

      otherwise, of any reason why the Requesting Party believes that the Responding Party’s

      disclosures are insufficient. The written statement shall list, by category, the items the

      Requesting Party contends should be produced. The parties shall promptly meet and

      confer. If the parties are unable to resolve their dispute, then the Responding Party shall,

      within 14 days after service of the written statement upon it, serve upon the Requesting

      Party a written statement, in letter form or otherwise, which identifies (1) the requested

      items that will be disclosed, if any, and (2) the reasons why any requested items will not

      be disclosed. The Requesting Party may thereafter file a motion to compel.

(b)   An opposed discovery related motion, or any response thereto, shall not exceed 7 pages.

      Attachments to a discovery related motion, or a response thereto, shall not exceed 5 pages.

      No further briefing is allowed absent a request or order from the Court.

(c)   Prior to filing any discovery related motion, the parties must fully comply with the

      substantive and procedural conference requirements of Local Rule CV-7(h) and (i). Within

      72 hours of the Court setting any discovery motion for a hearing, each party’s lead attorney

      (see Local Rule CV-11(a)) and local counsel shall meet and confer in person or by

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      telephone, without the involvement or participation of other attorneys, in an effort to

      resolve the dispute without Court intervention.

(d)   Counsel shall promptly notify the Court of the results of that meeting by filing a joint report

      of no more than two pages. Unless excused by the Court, each party’s lead attorney shall

      attend any discovery motion hearing set by the Court (though the lead attorney is not

      required to argue the motion). Any change to a party’s lead attorney designation must be

      accomplished by motion and order.

(e)   Counsel are directed to contact the chambers of the undersigned for any “hot-line” disputes

      before contacting the Discovery Hotline provided by Local Rule CV- 26(e).               If the

      undersigned is not available, the parties shall proceed in accordance with Local Rule CV-

      26(e).

10.   No Excuses. A party is not excused from the requirements of this Discovery Order

      because it has not fully completed its investigation of the case, or because it challenges the

      sufficiency of another party’s disclosures, or because another party has not made its

      disclosures. Absent court order to the contrary, a party is not excused from disclosure

      because there are pending motions to dismiss, to remand, or to change venue.

11.   Filings. Only upon request from chambers shall counsel submit to the Court courtesy

      copies of any filings.

12.   Standing Orders. The parties and counsel are charged with notice of and are required to

      fully comply with each of the Standing Orders of this Court. Such are posted on the Court’s

      website   at   http://www.txed.uscourts.gov/page1.shtml?location=info:judge&judge=17.

      The substance of some such orders may be included expressly within this Discovery Order,

      while others (including the Court’s Standing Order Regarding Protection of Proprietary

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      and/or Confidential Information to Be Presented to the Court During Motion and Trial

      Practice) are incorporated herein by reference. All such standing orders shall be binding on

      the parties and counsel, regardless of whether they are expressly included herein or made

      a part hereof by reference.
    SIGNED this 19th day of December, 2011.
   So ORDERED and SIGNED this 25th day of August, 2017.




                                                     ____________________________________
                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE




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 APPENDIX A

                PROPOSED DEADLINES FOR DOCKET CONTROL ORDER


        In accordance with the scheduling conference held in this case, it is hereby ORDERED

 that the following schedule of deadlines is in effect until further order of this Court:

  May 7, 2018                               Jury Selection – 9:00 a.m. in Marshall, Texas before
                                            Judge Rodney Gilstrap

  April 16, 2018                            Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                            before Judge Rodney Gilstrap

  March 22, 2018                            File Joint Pretrial Order, Joint Proposed Jury
                                            Instructions and Form of the Verdict, Responses to
                                            Motions in Limine, Updated Exhibit Lists, Updated
                                            Witness Lists, and Updated Deposition Designations.

  March 15, 2018                            File Motions in Limine

                                            The parties are ordered to meet and confer on their
                                            respective motions in limine and advise the court of
                                            any agreements in this regard by 1:00 p.m. three
                                            (3) business days before the pretrial conference. The
                                            parties shall limit their motions in limine to those
                                            issues which, if improperly introduced into the trial of
                                            the case would be so prejudicial that the court could
                                            not alleviate the prejudice with appropriate
                                            instruction(s).

  March 15, 2018                            File Notice of Request for Daily Transcript or Real
                                            Time Reporting.

                                            If a daily transcript or real time reporting of court
                                            proceedings is requested for trial, the party or parties
                                            making said request shall file a notice with the Court
                                            and e-mail the Court Reporter, Shelly Holmes, at
                                            shelly_holmes@txed.uscourts.gov.

  March 13, 2018                            Serve Pretrial Objections

  March 1, 2018                             Serve Pretrial Disclosures



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  March 1, 2018                           Response to Dispositive Motions (including Daubert
                                          Motions).1 Responses to dispositive motions filed
                                          prior to the dispositive motion deadline, including
                                          Daubert Motions, shall be due in accordance with
                                          Local Rule CV-7(e). Motions for Summary Judgment
                                          shall comply with Local Rule CV-56.

  February 15, 2018                       Deadline for Filing Dispositive Motions and any other
                                          motions that may require a hearing; including
                                          Daubert motions.

  February 15, 2018                       Defendant to Identify and Give Notice of Trial
                                          Witnesses

  February 8, 2018                        Plaintiff to Identify and Give Notice of Trial
                                          Witnesses

  February 1, 2018                        File Response to Amended Pleadings

  February 1, 2018                        Mediation to be completed

  January 18, 2018                        File Amended Pleadings
                                          (It is not necessary to file a Motion for Leave to
                                          Amend before the deadline to amend pleadings. It
                                          is necessary to file a Motion for Leave to Amend
                                          after the amended pleadings date set forth herein.)

  January 11, 2018                        Discovery Deadline

  January 4, 2018                         Deadline to File Motions to Compel Regarding
                                          Discovery Disputes.

  December 28, 2017                       Defendant to designate Expert Witnesses
                                          Expert witness report due
                                          Refer to Local Rules for required information




         1 The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
 failure to oppose a motion in the manner prescribed herein creates a presumption that the party
 does not controvert the facts set out by movant and has no evidence to offer in opposition to the
 motion.” Local Rule CV-7(e) provides that a party opposing a motion has 14 days, in addition to
 any added time permitted under Fed. R. Civ. P. 6(d), in which to serve and file a response and
 any supporting documents, after which the court will consider the submitted motion for decision.


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  December 21, 2017                      Plaintiff to Designate Expert Witnesses
                                         Expert witness report due
                                         Refer to Local Rules for required information

  December 21, 2017                      Privilege Logs to be exchanged by parties (or a letter
                                         to the Court stating that there are no disputes as to
                                         claims of privileged documents).

  November 16, 2017                      Join Additional Parties


                                   OTHER LIMITATIONS

        1.    All depositions to be read into evidence as part of the parties’ case-in-chief shall
              be EDITED so as to exclude all unnecessary, repetitious, and irrelevant
              testimony; ONLY those portions which are relevant to the issues in controversy
              shall be read into evidence.

        2.    The Court will refuse to entertain any motion to compel discovery filed after the date
              of this Order unless the movant advises the Court within the body of the motion
              that counsel for the parties have first conferred in a good faith attempt to resolve
              the matter. See Eastern District of Texas Local Rule CV-7(h).

        3.    The following excuses will not warrant a continuance nor justify a failure to comply
              with the discovery deadline:

              (a)     The fact that there are motions for summary judgment or motions to dismiss
                      pending;

              (b)     The fact that one or more of the attorneys is set for trial in another court
                      on the same day, unless the other setting was made prior to the date of this
                      order or was made as a special provision for the parties in the other case;

              (c)     The failure to complete discovery prior to trial, unless the parties can
                      demonstrate that it was impossible to complete discovery despite their
                      good faith effort to do so.

        4.    Mediation shall be attended, in person, by named parties (if an individual) or by
              a fully authorized representative (if not an individual) and by lead counsel. Third
              party insurance carriers who may be obligated to indemnify a named party and/or
              who owe a defense to any party shall also attend mediation, in person, by means
              of a fully authorized representative. Non-compliance with these directives shall
              be considered an intentional failure to mediate in good faith.


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        5.    Any motion to alter any date on the DCO shall take the form of motion to amend
              the DCO. The motion to amend the DCO shall include a proposed order that lists
              all of the remaining dates in one column (as above) and the proposed changes to
              each date in an additional adjacent column (if there is no change for a date the
              proposed date column should remain blank or indicate that it is unchanged). In
              other words, the DCO in the proposed order should be complete such that one can
              clearly see all the remaining deadlines and the changes, if any, to those deadlines,
              rather than needing to also refer to an earlier version of the DCO.




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 APPENDIX B
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  KATHY PILKINTON                                  §
                                                   §
  V.                                               §
                                                   §           CASE NO. 2:17-CV-519- JRG
  HERITAGE HOSPICE OF                              §
  TEXARKANA, LLC D/B/A                             §
  HERITAGE HOSPICE                                 §

                               STANDARD PROTECTIVE ORDER

         The Court, sua sponte, issues this Protective Order to facilitate document disclosure and

 production under the Local Rules of this Court and the Federal Rules of Civil Procedure. Unless

 modified pursuant to the terms contained in this Order, this Order shall remain in effect through

 the conclusion of this litigation.

         In support of this order, the Court finds that:

 1.      Documents or information containing confidential proprietary and business information

 and/or trade secrets (AConfidential Information@) that bear significantly on the parties= claims or

 defenses is likely to be disclosed or produced during the course of discovery in this litigation;

 2.      The parties to this litigation may assert that public dissemination and disclosure of

 Confidential Information could severely injure or damage the party disclosing or producing the

 Confidential Information and could place that party at a competitive disadvantage;

 3.      Counsel for the party or parties receiving Confidential Information are presently without

 sufficient information to accept the representation(s) made by the party or parties producing

 Confidential Information as to the confidential, proprietary, and/or trade secret nature of such

 Confidential Information; and


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 4.     To protect the respective interests of the parties and to facilitate the progress of disclosure

 and discovery in this case, the following Order should issue:

        IT IS THEREFORE ORDERED THAT:

 1.     Documents or discovery responses containing Confidential Information disclosed or

        produced by any party in this litigation are referred to as AProtected Documents.@ Except

        as otherwise indicated below, all documents or discovery responses designated by the

        producing party as AConfidential@ and which are disclosed or produced to the attorney=s for

        the other parties to this litigation are Protected Documents and are entitled to confidential

        treatment as described below.

 2.     Protected Documents shall not include (a) advertising materials, (b) materials that on their

        face show that they have been published to the general public, or (c) documents that have

        submitted to any governmental entity without request for confidential treatment.

 3.     At any time after the delivery of Protected Documents, counsel for the party or parties

        receiving the Protected Documents may challenge the Confidential designation of all or

        any portion thereof by providing written notice thereof to counsel for the party disclosing

        or producing the Protected Documents. If the parties are unable to agree as to whether the

        confidential designation of discovery material is appropriate, the party or parties receiving

        the Protected Documents shall certify to the Court that the parties cannot reach an

        agreement as to the confidential nature of all or a portion of the Protected Documents.

        Thereafter, the party or parties disclosing or producing the Protected Documents shall have

        ten (10) days from the date of certification to file a motion for protective order with regard

        to any Protected Documents in dispute. The party or parties producing the Protected



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       Documents shall have the burden of establishing that the disputed Protected Documents

       are entitled to confidential treatment. If the party or parties producing the Protected

       Documents do not timely file a motion for protective order, then the Protected Documents

       in dispute shall no longer be subject to confidential treatment as provided in this Order.

       All Protected Documents are entitled to confidential treatment pursuant to the terms of this

       Order until and unless the parties formally agree in writing to the contrary, a party fails to

       timely move for a protective order, or a contrary determination is made by the Court as to

       whether all or a portion of a Protected Document is entitled to confidential treatment.

 4.    Confidential Treatment. Protected Documents and any information contained therein

       shall not be used or shown, disseminated, copied, or in any way communicated to anyone

       for any purpose whatsoever, except as provided for below.

 5.    Protected Documents and any information contained therein shall be disclosed only to the

       following persons (AQualified Persons@):

       (a)     Counsel of record in this action for the party or party receiving Protected
               Documents or any information contained therein;

       (b)     Employees of such counsel (excluding or including) experts and investigators)
               assigned to and necessary to assist such counsel in the preparation and trial of this
               action; and

       (c)     the Court.

       Protected Documents and any information contained therein shall be used solely for the

       prosecution of this litigation.




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 6.    Counsel of record for the party or parties receiving Protected Documents may create an

       index of the Protected Documents and furnish it to attorneys of record representing or

       having represented parties involved in litigation involving the claims alleged in this suit

       against the party or parties disclosing or producing the Protected Documents. The index

       may only identify the document, date, author, and general subject matter of any Protected

       Document, but may not reveal the substance of any such document. Counsel for the party

       or parties receiving Protected Documents shall maintain a current log of the names and

       addresses of persons to whom the index was furnished.

 7.    The term Acopy@ as used herein means any photographic, mechanical or computerized copy

       or reproduction of any document or thing, or any verbatim transcript, in whole or in part,

       of such document or thing.

 8.    To the extent that Protected Documents or information contained therein are used in

       depositions, at hearings, or at trial, such documents or information shall remain subject to

       the provisions of this Order, along with the transcript pages of the deposition testimony

       and/or trial testimony referring to the Protected Documents or information contained

       therein.

 9.    Any court reporter or transcriber who reports or transcribes testimony in this action shall

       agree that all Aconfidential@ information designated as such under this Order shall remain

       Aconfidential@ and shall not be disclosed by them, except pursuant to the terms of this Order,

       and that any notes or transcriptions of such testimony (and any accompanying exhibits)

       will be retained by the reporter or delivered to counsel of record.




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 10.   Inadvertent or unintentional production of documents or information containing

       Confidential Information which are not designated Aconfidential@ shall not be deemed a

       waiver in whole or in part of a claim for confidential treatment.

 11.   The party or parties receiving Protected Documents shall not under any circumstances sell,

       offer for sale, advertise, or publicize Protected Documents or any information contained

       therein.

 12.   After termination of this litigation, the provisions of this Order shall continue to be binding,

       except with respect to those documents and information that become a matter of public

       record. This Court retains and shall have continuing jurisdiction over the parties and

       recipients of the Protected Documents for enforcement of the provisions of this Order

       following termination of this litigation.

 13.   Upon termination of this action by dismissal, judgment, or settlement, counsel for the party

       or parties receiving Protected Documents shall return the Protected Documents to the

       counsel for the party or parties disclosing or producing the Protected Documents. The

       party or parties receiving the Protected Documents shall keep their attorney work product

       which refers or relates to any Protected Documents. Attorney work product may be used

       in subsequent litigation provided that such use does not disclose Protected Documents or

       any information contained therein.

 14.   This Order shall be binding upon the parties and their attorneys, successors, executors,

       personal representatives, administrators, heirs, legal representatives, assigns, subsidiaries,

       divisions, employees, agents, independent contractors, or other persons or organizations

       over which they have control.



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 15.   The Court anticipates and encourages the parties to file a motion to modify the terms hereof

       with respect to the sharing of Protected Documents with experts and consultants; shifting

       the cost burden of production equitably; and other terms that may be reasonably required

       to protect a party as provided in Rule 26(b) or (c) of the Federal Rules of Civil Procedure.

       SO ORDERED AND SIGNED this _______ day of                                          , 2017.



                                             _______________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE




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